Case 3:17-cv-00321-WKW-SMD     Document 6-38     Filed 05/18/17   Page 1 of 2




                              EXHIBIT HH


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
  Case 3:17-cv-00321-WKW-SMD             Document 6-38        Filed 05/18/17      Page 2 of 2




                                           2012-6

  NATIONAL SHERIFFS’ ASSOCIATION SUPPORTS & RECOGNIZES
   THE CONTRIBUTION OF PRETRIAL SERVICES AGENCIES TO
                 ENHANCE PUBLIC SAFETY
WHEREAS, the National Sheriffs’ Association (NSA) supports the fair and efficient
         administration of criminal justice and is dedicated to the reduction of crime;

WHEREAS, a justice system relying heavily on financial conditions of release at the pretrial
         stage is inconsistent with a fair and efficient justice system;

WHEREAS, the purpose of the pretrial detention decision is both to assure the presence of
         accused defendants in court and to protect the public from harm;

WHEREAS, nationwide most pretrial inmates are incarcerated not because of their risk to public
         safety or of not appearing in court, but because of their inability to afford the
         amount of their bail bond;

WHEREAS, the majority of jail inmates nationwide are on pretrial status, contributing to the
         nation’s problem of jail crowding;

WHEREAS, crowded jails present a safety concern for jail staff and inmates and an unnecessary
         financial burden on taxpayers;

WHEREAS, pretrial risk assessment of all defendants with a validated instrument and pretrial
         supervision of some defendants released to the community pending trial helps to
         maximize court appearances while maintaining public safety;

NOW, THEREFORE BE IT RESOLVED, that the National Sheriffs’ Association supports
         and recognizes the value of high-functioning pretrial services agencies to enhance
         public safety; promote a fair and efficient justice system; provide assistance to
         sheriffs in the administering of a safe jail and reducing jail crowding; and help
         relieve the financial burden on taxpayers.


Adopted at a Meeting of the General Membership in Nashville, TN on June 18, 2012.

                                                    National Sheriffs’ Association 2012 Resolutions
